                         IN THE UNITED STATES BANKR.UPTCY COURT
                         FOR THE NORTHERN DISTRICT OF ALABAMA
                                    NORTHERN DIVISION


 WILLTAM BARRIER                    ROBERTS,        )

        Plaintiff,

 vs.                                                              Case No. 18-83442-CRJ1l

 MELA.NIE HAMMER MURRAY                             )             AP No. 19-80017-CRJ
 and RI{ETT MURRAY,                                 )
                                                    )
        Defendants.                                 )

                                         NOI'ICE OF CONSE]\T

        Plaintiff, William Barrier Roberts, hereby consents to entry of Final Orders and Judgmr:nt

 by the I3ankruptcy Court, subject to normal appellate revie'w under 28 U.S.C. 158.
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                                                        Respectfully submitted,

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                                  CERTIFICATE OF SERVICE
         I hereby certify that on May 30, 2019,1electronically liled the foregoing Notice with the Courrt
using thre CM/ECF system, which will send the notice of the filing to all counsel of record registered
to receiye electronic notice, and via electronic mail upon:

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Bankruptcy Administrator
P.O. Box 3045
Decatur, AL 35602
Via email: richard_blythe@alnba.uscourts.gov

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                                                        /s/ Joh'n J. Callahan. Jr.
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